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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                     COVINGTON


 CIVIL ACTION NO. 2:21-CV-00102-DLB-CJS


 JASON LAIBLE, et al.                                                          PLAINTIFFS

 V.                                         ORDER

 TIMOTHY LANTER, et al.                                                      DEFENDANTS

                                    *** *** *** *** ***

        This matter is before the Court on the United States’ Motion to Dismiss the First

 Amended Complaint, for lack of subject-matter jurisdiction or, in the alternative, for failure

 to state a claim for which relief may be granted. The motion having been fully briefed;

 the Court having reviewed the file; the Court being otherwise sufficiently advised; and it

 appearing to the Court that it lacks subject-matter jurisdiction over the claims asserted in

 the First Amended Complaint;

        IT IS HEREBY ORDERED that the Motion of the United States is GRANTED.

 The First Amended Complaint is hereby DISMISSED, in its entirety.
